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11                                     UNITED STATES DISTRICT COURT

12                                  NORTHERN DISTRICT OF CALIFORNIA

13    WILLIE M. FLANIGAN,                            Case No. 3:16-cv-00066 WHA (PR)

14            Plaintiff,                             DEFENDANTS’ MOTION IN LIMINE NO. 4
                                                     TO EXCLUDE PLAINTIFF’S NARRATIVE
15            vs.                                    TESTIMONY

16    SAN FRANCISCO POLICE DEPARTMENT,
      et al.,
17                                                   Trial Date:        June 5, 2023
              Defendants.
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      Defendants’ Motion in Limine No. 4                                    n:\lit\li2018\161228\01648732.docx
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 1                                               INTRODUCTION

 2           Defendants seek the Court’s intervention and guidance to control irrelevant and inflammatory

 3   narrative testimony that is reasonably expected from Plaintiff.

 4           Since Plaintiff is in pro per, it is anticipated that he will seek to testify on his own behalf in

 5   narrative form. This format would not allow Defendants to make objections before information is

 6   relayed to the jury. Defendants’ experience during litigation in this matter has revealed that Plaintiff

 7   often brings up issues unrelated to the present matter, including conspiracy theories that are not based

 8   on fact. Defendants are concerned that if Plaintiff is permitted to testify in narrative form he will make

 9   claims outside of his personal knowledge, make statements that have nothing to do with this case, and

10   raise issues that would be extremely prejudicial to the Defendants with no probative value. In

11   addition, Defendants are concerned that Plaintiff will testify to hearsay statements from witnesses who

12   may not testify.

13                                                  ARGUMENT

14           The Federal Rules of Evidence limit the admission of facts and documents “so as to administer

15   every proceeding fairly, eliminate unjustifiable expense and delay, and promote the development of

16   evidence law, to the end of ascertaining the truth and securing a just determination.” Fed. R. Evid.

17   102.

18           Only relevant evidence is admissible. Fed. R. Evid. 402. However, even relevant evidence

19   should be excluded “if its probative value is substantially outweighed by the danger of unfair

20   prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly present

21   cumulative evidence.” Fed. R. Evid. 403. Character evidence is also “not admissible to prove that on

22   a particular occasion the person acted in accordance with the character or trait” and evidence of a

23   “wrong, or other act is not admissible to prove a person’s character in order to show that on a

24   particular occasion the person acted in accordance with the character.” Fed. R. Evid. 404(a)(1),

25   404(b)(1).

26           A testifying witness must have personal knowledge about the matters in which they are

27   testifying. Fed. R. Evid. 602.

28           Hearsay is generally inadmissible, unless an exception exists. Fed. R. Evid. 801, 802.
      Defendants’ Motion in Limine No. 4                     1                            n:\lit\li2018\161228\01648732.docx
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 1           If Plaintiff testifies in narrative form, Defendants will not be able to object. Further,

 2   Defendants will be unable to “un-ring the bell” should Plaintiff testify to those same prejudicial and

 3   irrelevant facts. Defendants would then have to call numerous witnesses that have little or nothing to

 4   do with issues relevant to this case in order to rebut Plaintiff’s unfounded and/or overly prejudicial

 5   statements. Courts consistently bar the use of Rule 404(b) evidence where its admission would require

 6   such a mini-trial. See, e.g., Jones v. Hamelman, 869 F.2d 1023, 1027 (7th Cir. 1989); Carter v.

 7   District of Columbia, 795 F.2d 116, 129-32 (D.C. Cir. 1986); Ricketts v. City of Hartford, 74 F.3d

 8   1397, 1414 (2d Cir. 1996).

 9                                                CONCLUSION

10           Defendants request that the Court order Plaintiff to refrain from testifying in an uncontrolled

11   narrative form in order to avoid the admission of irrelevant, prejudicial and unreliable information.

12   Defendants are open to the Court’s guidance in providing an appropriate means for Plaintiff to testify

13   that allows for proper objections to be made ensures exclusion of inadmissible evidence.

14

15   Dated: February 23, 2023
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